 1   DEVIN DERHAM-BURK #104353
     CHAPTER 13 STANDING TRUSTEE
 2   P O BOX 50013
     SAN JOSE, CA 95150-0013
 3
     Telephone: (408) 354-1345
 4   Facsimile: (408) 354-5513
 5

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 8                            UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 9                                    SAN JOSE DIVISION
                                                        Chapter 13
10
     In Re:                                         )   Case No. 16-52268 MEH
11                                                  )
     GREGORY A DEL CARLO                            )   NOTICE OF DEFAULT IN
12                                                  )   CHAPTER 13 PLAN PAYMENTS
     TRACY L DEL CARLO                              )   AND DEMAND FOR CURE WITH
13                                                  )   CERTIFICATE OF SERVICE
                                   Debtors          )
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15   NOTICE TO THE DEBTORS: YOU ARE BEHIND ON YOUR CHAPTER 13 PLAN

16   PAYMENTS AND YOUR CASE WILL BE DISMISSED UNLESS YOU CATCH UP ON

17   YOUR PAYMENTS. YOU MUST TAKE ACTION WITHIN 21 DAYS OF THE DATE

18   OF THIS NOTICE.

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20   YOU ARE HEREBY NOTIFIED that the Chapter 13 Trustee’s records show that you have not

     made all the payments required by your confirmed Chapter 13 Plan.
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     1.   YOU ARE IN DEFAULT UNDER YOUR CHAPTER 13 PLAN. As of Apr 30, 2018
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          your payments to the Chapter 13 Trustee should total: $118,475.00. According to the
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          Trustee’s records, you have only paid $3,800.00 resulting in a $114,675.00 default through
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          Apr 30, 2018.    (The default amount does not include any payments which have been
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          suspended.)

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                                                                                             of Default
 1
     2.   In order to continue to receive protection of the U.S. Bankruptcy Court you must complete
 2
          one of the following within 21 days:
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          a. Bring the case current by paying in certified funds to the Trustee the amount of
 4
             $114,675.00; (Mail payments to the lock box address: PO Box 50009, San Jose, CA
 5
             95150-0009)
 6           OR
 7        b. Meet and confer, by telephone, with the Trustee’s representative AND enter into an
 8           agreement to cure the default in a manner which is acceptable to the Trustee; OR
 9        c. File and serve a motion to modify plan which proposes terms under which you will not be
10           in default and which will provide for plan completion within 60 months of the original time
11           that the first payment under the original confirmed plan was due. If you pursue this option,
12           you must also promptly obtain an order granting the motion to modify.
13   3.       IF YOU FAIL TO ACT, YOUR CASE WILL BE DISMISSED WITHOUT ANY

14        FURTHER NOTICE OR HEARING.

15   PLEASE CONTACT YOUR ATTORNEY IMMEDIATELY. YOUR ATTORNEY MAY

16   BE ABLE TO ASSIST YOU.

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18   Dated: April 18, 2018                       /s/ DEVIN DERHAM-BURK
                                                 DEVIN DERHAM-BURK
19                                               Chapter 13 Standing Trustee
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                                                                                               of Default
 1
                               CERTIFICATE OF SERVICE BY MAIL
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     I hereby declare that I am over the age of 18 years, not a party to the within cause; my business
 4
     address is 983 University Ave., Bldg. C-100, Los Gatos, CA 95032. I served the within Notice
 5
     of Default in Chapter 13 Plan Payments and Demand for Cure by placing same in an envelope in
 6
     the U.S. Mail at Los Gatos, California on April 18, 2018. Said envelopes were addressed as
 7
     follows:
 8

 9
     GREGORY A DEL CARLO
10   TRACY L DEL CARLO
     2007 GYPSY AVE
     SAN MARTIN, CA 95046-9622
11
     In addition to any paper copies served by U.S. Mail, registered ECF participants, including parties
12
     who have requested Special Notice in this case, will receive an electronic copy of the foregoing
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     document when it has been filed with the Court.
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     Dated: April 18, 2018                      /s/ Esmeralda Mejia
17                                              Office of DEVIN DERHAM-BURK
                                                Chapter 13 Standing Trustee
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